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Thomas R. Johnson, OSB #010645
Tom.Johnson@stoel.com
Alex Van Rysselberghe, OSB #174836
Alex.VanRysselberghe@stoel.com
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Telephone: 503.224.3380
Facsimile: 503.220.2480

Eric J. Neiman, OSB #823513
Eric.Neiman@lewisbrisbois.com
Emma P. Pelkey, OSB #144029
Emma.Pelkey@lewisbrisbois.com
LEWIS BRISBOIS BISGAARD & SMITH LLP
888 SW Fifth Avenue, Suite 900
Portland, Oregon 97204-2025
Telephone: 971.712.2800

Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                  PORTLAND DIVISION

DISABILITY RIGHTS OREGON;
METROPOLITAN PUBLIC DEFENDERS
INCORPORATED; and A.J. MADISON,                  Case No.: 3:02-cv-00339-MO (Lead Case)

               Plaintiffs,                       PLAINTIFFS LEGACY EMANUEL
v.                                               HOSPITAL & HEALTH CENTER D/B/A
                                                 UNITY CENTER FOR BEHAVIORAL
PATRICK ALLEN, in his official capacity as       HEALTH, LEGACY HEALTH SYSTEM,
Director of Oregon Health Authority; and         PEACEHEALTH, PROVIDENCE
DOLORES MATTEUCCI, in her official               HEALTH & SERVICES – OREGON, AND
capacity as Superintendent of the Oregon State   ST. CHARLES HEALTH SYSTEM’S
Hospital,                                        MOTION FOR RECONSIDERATION OF
                                                 THE MAY 25, 2023 OPINION AND
               Defendants,                       ORDER AND TO VACATE THE MAY 30,
                                                 2023 JUDGMENT
and
                                                 ORAL ARGUMENT REQUESTED
LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY

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HEALTH SYSTEM; PEACEHEALTH; and
PROVIDENCE HEALTH & SERVICES –
OREGON,
          Intervenors.
JAROD BOWMAN; and JOSHAWN
DOUGLAS SIMPSON,                                   Case No.: 3:21-cv-01637-MO (Member Case)
               Plaintiffs,
v.

DOLORES MATTEUCCI, Superintendent of
the Oregon State Hospital, in her individual and
official capacity; PATRICK ALLEN, Director
of the Oregon Health Authority, in his
individual and official capacity,

               Defendants,
and

LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH; and
PROVIDENCE HEALTH & SERVICES –
OREGON,
          Intervenors.

LEGACY EMANUEL HOSPITAL &
HEALTH CENTER d/b/a UNITY CENTER                   Case No.: 6:22-cv-01460-MO (Member Case)
FOR BEHAVIORAL HEALTH; LEGACY
HEALTH SYSTEM; PEACEHEALTH;
PROVIDENCE HEALTH & SERVICES –
OREGON; and ST. CHARLES HEALTH
SYSTEM,

               Plaintiffs,
v.

PATRICK ALLEN, in his official capacity as
Director of Oregon Health Authority,

               Defendant.




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                                   LR 7-1 CERTIFICATION

       Pursuant to Local Rule 7-1, counsel for Plaintiffs Legacy Emanuel Hospital & Health

Center d/b/a Unity Center for Behavioral Health, Legacy Health System, PeaceHealth,

Providence Health & Services – Oregon, and St. Charles Health System certify they have

conferred in good faith with counsel for Defendant and amici Disability Rights Oregon via phone

and email. Defendant and Disability Rights Oregon oppose this motion.

                                            MOTION

       Under Federal Rules of Civil Procedure 59(e) and 60(b) and this Court’s inherent

authority, Plaintiffs move the Court to (1) reconsider its May 25, 2023 Opinion and Order

(“Op.”) dismissing Plaintiffs’ claims with prejudice (3:02-cv-00339-MO, ECF 395; 6:22-cv-

1460-MO, ECF (“Doc.”) 88); (2) vacate the May 30, 2023 Judgment (Doc. 90); and (3) dismiss

Plaintiffs’ claims without prejudice and with leave to amend. 1

                                  MEMORANDUM OF LAW

I.     INTRODUCTION

       The Court dismissed Plaintiffs’ complaint with prejudice for lack of Article III standing.

“[D]ismissals for lack of Article III jurisdiction must be entered without prejudice because a

court that lacks jurisdiction ‘is powerless to reach the merits.’” Barke v. Banks, 25 F.4th 714,

721 (9th Cir. 2022) (quoting Fleck & Assocs., Inc. v. City of Phoenix, 471 F.3d 1100, 1106–07

(9th Cir. 2006)). A judgment is void “if the court that rendered judgment lacked jurisdiction of

the subject matter.” In re Center Wholesale, Inc., 759 F.2d 1440, 1448 (9th Cir. 1985).




1
 Plaintiffs reserve their rights to later move for reconsideration of the part of the Opinion and
Order changing Plaintiffs’ status from intervenors to amici in Disability Rights Oregon v. Allen,
3:02-cv-00339-MO and Bowman v. Matteucci, 3:21-cv-01637-MO.

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        The Court did not give Plaintiffs an opportunity to amend their complaint to address any

deficiencies. “It is black-letter law that a district court must give plaintiffs at least one chance to

amend a deficient complaint, absent a clear showing that amendment would be futile.” Nat’l

Council of La Raza v. Cegavske, 800 F.3d 1032, 1041 (9th Cir. 2015). OHA itself did not even

attempt to make the requisite showing, but the Court nevertheless dismissed Plaintiffs’ complaint

with prejudice on the ground that “the issue of voluntary participation” in OHA’s certification

process for urgent treatment of civilly committed patients “cannot be cured.” Op. at 8. Plaintiffs

respectfully disagree with the Court’s reasoning on this point.

        Regardless, as demonstrated below and in Plaintiffs’ proposed Second Amended

Complaint, Plaintiffs can address this perceived deficiency by alleging facts showing the same

injuries that Plaintiffs have already alleged will occur regardless of whether Plaintiffs are

certified by OHA to treat civilly committed patients. Declaration of Alex Van Rysselberghe

(“Van Rysselberghe Decl.”), Exhibit 1 (proposed Second Amended Complaint). “Dismissal with

prejudice and without leave to amend is not appropriate unless it is clear on de novo review that

the complaint could not be saved by amendment.” Eminence Capital, LLC v. Aspeon, Inc., 316

F.3d 1048, 1052 (9th Cir. 2003).

        Specifically, Plaintiffs’ Second Amended Complaint alleges that even if Plaintiffs

stopped applying for certification to provide acute care treatment to civilly committed patients,

Plaintiffs would nonetheless be required to provide long-term care to civilly committed patients

in inappropriate care environments. Plaintiffs collectively provided almost 60% of the

psychiatric inpatient patient beds in Oregon. If Plaintiffs were no longer certified to provide

acute care services to civilly committed patients, there would be a massive shortage of beds and

civilly committed patients would instead languish in Plaintiffs emergency rooms and inpatient



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beds. Further, if Plaintiffs discharged civilly committed patients with nowhere to go, as OHA

has suggested, Plaintiffs would violate federal and state laws and ethical rules that may subject

them to fines and jeopardize their licensure.

       Plaintiffs respectfully request that the Court reconsider its May 25, 2023, Opinion and

Order, vacate the May 30, 2023, judgment, and dismiss Plaintiffs’ complaint without prejudice

and with leave to amend.

II.    BACKGROUND

       Plaintiffs filed their original Complaint on September 28, 2022. Doc. 1. After Plaintiffs

filed their First Amended Complaint (“FAC”), Doc. 28, OHA moved to dismiss the FAC,

arguing (among other things) that Plaintiffs lacked Article III standing. Doc. 30.

       Plaintiffs’ opposition to OHA’s motion to dismiss requested leave to amend if the Court

found “necessary allegations are lacking from Plaintiffs’ Amended Complaint.” Doc. 41 at 13.

At the hearing on OHA’s motion to dismiss, Plaintiffs noted that certain details about their

regulatory and ethical obligations were relevant to establishing the involuntary nature of their

injury but were not presently alleged in the First Amended Complaint. See, e.g., April 25, 2023

Transcript (3:02-cv-00339-MO, ECF 379) at 18–22, 24–25, 33–40. Plaintiffs also explained

that, if they declined certification in the future, they ultimately would be unable to transfer civilly

committed patients out of their hospitals:

       THE COURT: [H]aven’t you just told me that you could avoid this harm by just
       getting out of this game entirely and punting it to somebody else? I know you
       have told me your clients don’t want to do that -- God bless them for that -- but
       couldn’t they get out of this game entirely and punt the problem to somebody else
       and avoid the harm you’re suffering as alleged in the complaint?

       MR. NEIMAN: I don’t think they could, Your Honor, because --

       THE COURT: Why not?



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       MR. NEIMAN: There isn’t anywhere else to send the patients.

Id. at 37–39.

       OHA did not respond to these points. Nevertheless, the Court found Plaintiffs could

avoid “keep[ing] civilly committed patients for long-term stays” simply by “choos[ing] not to

participate in the application process to treat such patients.” Op. at 6. And because the Court

found “the issue of voluntary participation cannot be cured,” the Court dismissed Plaintiffs’

claims with prejudice. Id. at 8.

III.   LEGAL STANDARD

       A party may seek reconsideration of a prior order or judgment under Federal Rules of

Civil Procedure 59(e) or 60(b) or the court’s inherent authority to reconsider its own decisions.

Federal Rule of Civil Procedure 59(e) allows a party to move to “alter or amend a judgment …

no later than 28 days after the entry of the judgment.” Federal Rule of Civil Procedure 60(b)

allows a party to seek “relief from a final judgment [or] order,” and the Court may relieve a party

from a final judgment or order because of “mistake,” “the judgment is void,” or “any other

reason that justifies relief.” Fed. R. Civ. P. 60(b)(1), (4), (6). A judgment is “void” under Rule

60(b)(4) where the “the court that considered it lacked jurisdiction of the subject matter.” Watts

v. Pinckney, 752 F.2d 406, 409 (9th Cir. 1985) (quoting Vol. 11, Wright and Miller, Federal

Practice and Procedure at 198, 200).

       Reconsideration is appropriate when a district court “committed clear error or the initial

decision was manifestly unjust.” School Dist. No. 1J, Multnomah County, Oregon v. ACandS,

Inc., 5 F.3d 1255, 1263 (9th Cir. 1993).

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IV.    ARGUMENT

       Plaintiffs respectfully request that this Court reconsider its dismissal of Plaintiffs’ FAC

with prejudice. Dismissals for lack of Article III jurisdiction must be without prejudice.

Moreover, Ninth Circuit case law requires that Plaintiffs be given at least one chance to amend

their complaint, and Plaintiffs Proposed Second Amended Complaint establishes Plaintiffs’

standing to bring their claims.

       A.      Dismissals for lack of Article III jurisdiction must be without prejudice.

       Article III standing is a “threshold jurisdictional question.” Steel Co. v. Citizens for a

Better Environment, 523 U.S. 83, 102 (1998). “[D]ismissals for lack of Article III jurisdiction

must be entered without prejudice because a court that lacks jurisdiction ‘is powerless to reach

the merits.’” Barke, 25 F.4th at 721 (emphasis added) (quoting Fleck & Assocs., 471 F.3d at

1106–07); see Semtek Int’l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 505 (2001) (dismissal

“with prejudice” is “shorthand for ‘an adjudication upon the merits’”).

       Because the Court did not have jurisdiction to dismiss Plaintiffs’ claims with prejudice,

the judgment is void and must be vacated. In re Center Wholesale, 759 F.2d at 1448; Watts, 752

F.2d at 409.

       B.      Plaintiffs are entitled to an opportunity to amend their complaint.

       For at least the past 60 years, the Ninth Circuit Court of Appeals has held that district

courts “must give plaintiffs at least one chance to amend a deficient complaint, absent a clear

showing that amendment would be futile”—even if plaintiffs do not request it. Cegavske, 800

F.3d at 1041; see, e.g., generally Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712

(9th Cir. 2001) (explaining that it is the policy in the Ninth Circuit to give leave to amend

“freely” and “with extreme liberality”); Sharkey v. O’Neal, 778 F.3d 767, 774 (9th Cir. 2015)



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(explaining that a plaintiff need not expressly ask for leave to amend to be entitled to the

presumption that leave to amend should be granted); Lopez v. Smith, 203 F.3d 1122, 1127 (9th

Cir. 2000) (same); Doe v. United States, 58 F.3d 494, 497 (9th Cir. 1995) (same); Bonanno v.

Thomas, 309 F.2d 320, 322 (9th Cir. 1962) (same).

       OHA itself made no attempt to demonstrate amendment would be futile and precluding

Plaintiffs from filing an amended complaint constitutes clear error and manifest injustice. This is

especially true with standing, where courts are generally encouraged to afford plaintiffs

opportunities to supplement the record if standing may be lacking. See, e.g., Alabama

Legislative Black Caucus v. Alabama, 575 U.S. 254, 270–71 (2015) (“elementary principles of

procedural fairness required that the District Court, rather than acting sua sponte, give the

[plaintiff] an opportunity to provide evidence of member residence [to establish associational

standing]”).

       The Court dismissed Plaintiffs’ claims with prejudice based on its view that “the issue of

voluntary participation cannot be cured.” Op. at 8. Plaintiffs intend to, and can, amend their

complaint to address any deficiency mentioned in this Court’s Opinion and Order. Under the

authorities cited for the first time in the Opinion and Order, a plaintiff does not “cause[] its own

injury” where it shows that it “would remain worse off” by pursuing the alternative courses of

action proposed by the opposing party. Skyline Wesleyan Church v. California Dep’t of

Managed Health Care, 968 F.3d 738, 748–49 (9th Cir. 2020); see also Jackson v. California

Dep’t of Mental Health, 399 F.3d 1069, 1074–75 (9th Cir. 2005) (holding that the plaintiff’s

commitment was self-inflicted because the plaintiff had voluntarily committed himself, but

noting that the injury might not be considered self-inflicted had the plaintiff shown that

alternative conduct would have caused the same result or caused him “some hardship”).



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       Plaintiffs’ proposed Second Amended Complaint alleges that alternative courses of action

will result in the same injury that Plaintiffs have already alleged. See generally Van

Rysselberghe Decl., Ex. 1 at ¶¶ 29–52. Plaintiffs will explain, for example, what will happen if

Plaintiffs’ hospitals declined to seek certification to treat civilly committed patients. Id. at

¶¶ 43–46. If Plaintiffs declined certification, civil commitment patients would still remain in

Plaintiffs’ hospitals—except that more patients may be left in emergency rooms and inpatient

beds rather than acute care psychiatric beds. Id. at ¶¶ 33–39, 42–46.

       This is because Plaintiffs make up Oregon’s four largest health systems and, together,

care for the majority of civil commitment patients who are located in acute care hospitals. Id. at

¶ 44. In total, Plaintiffs’ 267 beds make up 57% of the 460 certified beds in Oregon. Id. As

such, there would be insufficient capacity in the remaining certified Oregon hospitals (providing

approximately 193 beds) to take and provide acute care for the civil commitment patients that

would no longer receive certified treatment from Plaintiffs. Id. at ¶¶ 43–44. If this happened,

Plaintiffs would inevitably end up providing care for civil commitment patients anyway, despite

declining certification. Id. at ¶¶ 33–39, 42–46.

       Plaintiffs will also provide more specific allegations establishing how civil commitment

patients end up at Plaintiffs’ hospitals (and how, under OHA’s practices, some of those patients

inevitably will be left in Plaintiffs’ beds for long lengths of stays), and how, given their existence

as major hospitals in this state, they will serve the civilly-committed population because they

have many of the most well-established emergency departments in Oregon, and certainly

throughout the Portland metropolitan area. Most civilly committed patients that are cared for at

Plaintiffs’ hospitals were initially admitted to the hospitals through the emergency room. Id. at

¶¶ 33–39. These patients often come to Plaintiffs’ hospitals through law enforcement, who



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deliver individuals to the emergency departments when they are in acute distress. State and

federal law requires Plaintiffs to accept all patients in their emergency rooms, regardless of

whether the patients might later be civilly committed. Id. at ¶ 33. Once a patient who enters

through the doors of the emergency room is civilly committed, Plaintiffs can transfer them to

another hospital for treatment only if the other hospital both (1) is certified and (2) has available

beds. Id. at ¶ 39. If there is no certified hospital to which the civilly committed patient can be

transferred, the patient will remain indefinitely in the Plaintiffs’ hospital, even if the hospital is

not certified to treat civilly committed patients. Id. at ¶¶ 37–39, 42–44. All these additional

allegations would establish that, even if Plaintiffs declined to seek certification to provide acute

care for civilly committed patients, they would experience the same resulting injury,

demonstrating that their injuries are not “purely self-inflicted.”

        Plaintiffs will also allege what would happen to them if they were to—as OHA has

suggested—mitigate deprivation of their property by discharging civilly committed patients to

the street. Plaintiffs cannot just discharge civilly committed patients. Plaintiffs must adhere to

several ethical, state, and federal regulations and obligations to maintain licensure and avoid

fines. Id. at ¶¶ 41–42. Discharging civilly committed patients to the street while they are a

danger to themselves or others or are unable to care for their basic needs would jeopardize

Plaintiffs’ licensures and ability to conduct business, harm their reputation, and subject them to

fines or loss of funding. Id. at ¶ 42. As a result, if Plaintiffs no longer were licensed to provide

acute care services to civilly committed patients, there would be nowhere to send those patients,

and they would simply be left in other parts of the hospital.

        The above allegations are sufficient to establish both injury and traceability to OHA. See

Skyline Wesleyan Church, 968 F.3d at 748–49 (holding that traceability is established where the



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plaintiff shows that its chosen course of action results in injury and that alternative courses of

injury would result in the same injury or otherwise leave it worse off); Darring v. Kincheloe, 783

F.2d 874, 877 (9th Cir. 1985) (“A threatened injury may be justiciable.”); see also Barnum

Timber Co. v. U.S. E.P.A., 633 F.3d 894, 898 (9th Cir. 2011) (both permanent and temporary

takings of property constitute an injury); Columbia Basin Apartment Ass’n v. City of Pasco, 268

F.3d 791, 797–98 (9th Cir. 2001) (threatened loss of business licensure is sufficient to constitute

a concrete injury for purposes of Article III standing); Robins v. Spokeo, Inc., 867 F.3d 1108,

1112 (injuries to reputation may constitute an injury sufficient for Article III standing);

Organized Village of Kake v. U.S. Dept. of Agriculture, 795 F.3d 956, 965 (9th Cir. 2015)

(holding that “loss of funds promised under federal law . . . satisfies Article III’s standing

requirement”).

        That some alternative harms may stem partly from entities other than OHA (e.g., loss of

Medicare funding as a penalty for violating EMTALA) does not negate traceability. As the

Ninth Circuit explained in Skyline Wesleyan Church and Mendia v. Garcia, 768 F.3d 1009,

1012–13 (9th Cir. 2014), traceability is not so stringent that it “require[s] the defendant’s action

to be the sole source of injury.” 968 F.3d at 748 (emphasis added). “Causation may be found

even if there are multiple links in the chain connecting the defendant’s unlawful conduct to the

plaintiff’s injury[.]” Mendia, 768 F.3d at 1012–13. There is “no requirement that the

defendant’s conduct comprise the last link the chain.” Id. Indeed, it is these other laws that

enable OHA to outsource its responsibility to community hospitals—OHA knows that the

hospitals cannot discharge the patients, and as a result it can just leave the patients at the

hospitals instead of meeting its legal and constitutional duties to provide appropriate care for the

patients.



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       Allowing Plaintiffs to replead raises no concerns under Federal Rule of Civil Procedure

15. When determining whether to grant leave to amend, courts consider factors like any

prejudice to the opposing party, futility of the amendment, undue delay, and bad faith or dilatory

motive. Foman v. Davis, 371 U.S. 178, 182 (1962). None of those concerns exist here. Most

importantly, OHA will suffer no prejudice. See Eminence Capital, 316 F.3d at 1052 (“Not all of

the factors merit equal weight. . . . [I]t is the consideration of prejudice to the opposing party that

carries the greatest weight.”). Further, the amendment would not be futile, as explained above.

Id. (quoting Foman, 371 U.S. at 182). The amendment will not cause undue delay. Id. And

Plaintiffs do not seek the amendment with bad faith or dilatory motive. Id.

       In short, letting Plaintiffs replead in this case is consistent with the Ninth Circuit’s policy

of “freely” allowing amendment with “extreme liberality.” Id. at 1051 (quoting Owens v. Kaiser

Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001)).2

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  In the Second Amended Complaint, Plaintiffs will also address any deficiencies regarding their
third-party standing to bring claims on behalf of civilly committed patients in their care.

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V.     CONCLUSION

       Plaintiffs respectfully request that the Court reconsider its opinion and order, vacate the

judgment, and dismiss Plaintiffs’ claims without prejudice and with leave to amend.



DATED: June 26, 2023                              Respectfully submitted,

                                                  STOEL RIVES LLP

                                                  /s/ Thomas R. Johnson
                                                  Thomas R. Johnson, OSB #010645
                                                  tom.johnson@stoel.com
                                                  Alex Van Rysselberghe, OSB #174836
                                                  alex.vanrysselberghe@stoel.com


                                                  LEWIS BRISBOIS BISGAARD & SMITH LLP

                                                  /s/ Eric J. Neiman
                                                  Eric J. Neiman, OSB #823513
                                                  Eric.Neiman@lewisbrisbois.com
                                                  Emma P. Pelkey, OSB #144029
                                                  Emma.Pelkey@lewisbrisbois.com

                                                  Attorneys for Plaintiffs




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